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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 JAMAL WINGER, individually and on Case No. 1:22-cv-02023
 behalf of all others similarly situated, FLSA Collective Action
                                          FED. R. CIV. P. 23 Class Action
 v.
                                          Judge Andrea R. Wood
 THE QUAKER OATS COMPANY
                                          Magistrate Judge Jeffrey T. Gilbert

             WINGER’S UNOPPOSED MOTION TO TRANFER VENUE

A.     SUMMARY

       Jamal Winger requests the Court transfer this matter to the United States District

Court for the Southern District of New York to facilitate a consolidated settlement with at

least 14 other, similar cases pending in various federal courts across the country against

PepsiCo, Inc., Frito-Lay, Inc., The Quaker Oats Company, Tropicana Products, Inc., and

related entities (together, the “PepsiCo Companies”). Each of these cases involves allegations

(denied by the PepsiCo Companies) that they violated the FLSA and state wage-and-hour

laws in the wake of the outage of their Kronos payroll system beginning in December 2021.

       The employee-plaintiffs in this and the related matters have entered a comprehensive

settlement with the PepsiCo Companies that, upon its final approval, will fully and finally

resolve all these outstanding wage-and-hour claims against the PepsiCo Companies.

       As part of that settlement, the parties agreed that the various matters would be

consolidated and that preliminary and final approval of the comprehensive settlement will be

sought in the United States District Court for the Southern District of New York, where the

cases will be consolidated with the designated lead matter, Emanuele Stevens v. PepsiCo, Inc.,

No. 7:22-ccv-00802-NSR (S.D.N.Y.).
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B.     ARGUMENT & AUTHORITIES

       “For the convenience of parties and witnesses, in the interest of justice, a district court

may transfer any civil action to any other district or division where it might have been

brought.” 28 U.S.C. § 1404(a). A lawsuit may be brought in the judicial district where any

defendant resides (if they all reside in the same state) or where a substantial part of the events

or omissions giving rise to the claim occurred. 28 U.S.C. § 1391(b). A defendant which is an

entity is deemed to reside in any judicial district in which it is subject to personal jurisdiction

at the time the action is commenced. See 28 U.S.C. § 1391(c).

       This matter could have been brought in the Southern District of New York, where

PepsiCo is headquartered, where the PepsiCo Companies reside, and where a substantial part

of the events or omissions giving rise to the claim occurred. Although Plaintiff chose to bring

suit in this District, Plaintiff has agreed—for settlement purposes—that a transfer of this

matter to the Southern District of New York will serve the interests of justice.

       “[S]ince [28 U.S.C. § ]1404(a) looks to sound judicial administration, the court may

order a transfer whenever the circumstances satisfy the requirement of the section ….”

Blumenthal v. Mgmt. Assistance, Inc., 480 F.Supp. 470, 471 (N.D. Ill. 1979). In addressing a

motion to transfer venue under § 1404(a), the court first asks whether the proposed transfer

venue is proper (which, as noted, the Southern District of New York would be) and then

considers the “interests of justice” factors, including the (1) convenience of the parties;

(2) convenience of witnesses; (3) relative means of the parties; (4) locus of operative facts and

relative ease of access to sources of proof; (5) attendance of witnesses; (6) weight accorded

the plaintiff's choice of forum; (7) calendar congestion; (8) the desirability of having the case

tried by the forum familiar with the substantive law to be applied; (9) practical difficulties; and



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(10) how best to serve the interest of justice, based on an assessment of the totality of material

circumstances. Neil Bros. Ltd. v. World Wide Lines, Inc., 425 F.Supp.2d 325, 327-39 (E.D.N.Y.

2006). Here, Plaintiff is requesting the change of venue for the convenience of the parties to

the district where PepsiCo is headquartered to facilitate a settlement of multiple related

matters in a single proceeding, which satisfies the “fundamental concern … that litigation be

conducted in the federal court which will best serve the ‘interest of justice.’” See United States

ex rel. Ondis v. City of Woonsocket, R.I., 480 F.Supp.2d 434, 436 (D. Mass. 2007). Moreover,

because the requested transfer is for purposes of facilitating settlement only, several factors

are not relevant, including convenience access to evidence and convenience to witnesses.

       To facilitate a consolidated settlement of this matter with related litigation, the Court

should transfer this matter to the Southern District of New York for settlement purposes only,

as the parties agreed as part of their settlement. In the event the settlement is not effectuated,

the parties agree this action will be returned to this Court for further proceedings.

C.     CONCLUSION

       The Court should order a transfer of this case to facilitate a coordinated settlement

with similar matters pending against the PepsiCo Companies.

                                             Respectfully submitted,

                                                    /s/ Matthew S. Parmet
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                               CERTIFICATE OF CONFERENCE

       Prior to filing this Motion, I conferred with counsel for the PepsiCo Companies, who
confirmed that Defendant is unopposed to the relief sought herein.

                                           /s/ Matthew S. Parmet
                                           _____________________________
                                           Matthew S. Parmet


                                  CERTIFICATE OF SERVICE

        On May 18, 2022, I served a copy of this document and any attachments on all registered
parties and/or their counsel of record via the Court’s CM/ECF system. I also served a copy of
this document and any attachments on the following parties via email, pursuant to the parties’
agreement:

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                                           /s/ Matthew S. Parmet
                                           _____________________________
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